                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

                              NO. 7:10-CR-43-4-F

UNITED STATES OF AMERICA

           V.                                                o R DE R
KENNETH LLOYD COATS, JR.


      Upon motion of the United States of America, by and through

the   United    States   Attorney      for   the   Eastern     District    of North

Carolina, it is hereby ORDERED that all court records pertaining to

KENNETH   LLOYD    COATES,      JR.,   be    changed    to    reflect   the   proper

identification of the defendant as KENNETH LLOYD COATS, JR.

      This the    Isr     day    of~, 2010.


                                                   e.~
                                              ES C. FOX
                                             NIOR UNITED STATES DISTRICT JUDGE




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